Case No. 1:22-cv-01129-NYW-SKC Document 98-1 filed 02/06/23 USDC Colorado pg 1 of
                                      2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129-WJM

   ERIC COOMER, PH.D.,

        Plaintiff,

   v.
   MICHAEL J. LINDELL, FRANKSPEECH,
   LLC, AND MY PILLOW, INC.

        Defendants.


        ENTRY OF APPEARANCE TO PROVIDE LIMITED REPRESENTATION


   To the clerk of court and all parties of record:

           I hereby certify that I am a member in good standing of the bar of this court, and I

   appear in this case as counsel for:

           Tina Peters

           Undersigned counsel seeks to enter a limited appearance to represent the Ms. Peters in this

   action at her request for the limited purpose of representing her with respect the dispute involving the

   discovery subpoena issued to her by the Plaintiff.

           I hereby certify that my client, Tina Peters, approves the limited representation.
Case No. 1:22-cv-01129-NYW-SKC Document 98-1 filed 02/06/23 USDC Colorado pg 2 of
                                      2




          DATED at Denver, Colorado this          day of February, 2023.



                                                       s/Scott E. Gessler
                                                       Scott E. Gessler (28944),
                                                       sgessler@gesslerblue.com
                                                       GESSLER BLUE LLC
                                                       7350 E Progress Pl., Suite 100
                                                       Greenwood Village, CO 80111
                                                       Tel: (720) 839-6637




                                 CERTIFICATE OF SERVICE

           I hereby certify that on this ___ day of February, 2023 I electronically filed the
   foregoing with the Clerk of the Court using the CM/ECF system which will send
   notification of such filing to all parties and their counsel of record.


                                                        s/Joanna Bila
                                                        Joanna Bila, Paralegal
